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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


 DEFENSE DISTRIBUTED, et al.                    §                     Case No. 15-CV-372-RP
                                                §
                  Plaintiffs,                   §
                                                §
                  v.                            §
                                                §
  U.S. DEPARTMENT OF STATE, et al.,             §
                                                §
                  Defendants.                   §
________________________________________________§


                               JOINT SETTLEMENT STATUS REPORT


       Pursuant to the Court’s May 2, 2018 Order Granting Defendants’ Motion to Stay Case

[ECF 93], the parties file this report on the status of settlement in the above-captioned matter.

       The parties report that Government officials with appropriate approval authority have

approved the parties’ settlement agreement. Accordingly, Plaintiffs and Defendants expect to

conclude the agreement and submit a stipulation for dismissal on or before August 4, 2018.


       Dated: June 28, 2018                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on June 28, 2018, and was served on all counsel who are
deemed to have consented to electronic service. Local Rule CV-5(b)(1).


                    /s/ Matthew Goldstein
                    Matthew Goldstein




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